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                   Exhibit 7
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From:             Aaron Etra
To:               Steven Popofsky
Cc:               Joshua K. Bromberg
Subject:          Re: Benthos
Date:             Thursday, September 17, 2020 4:35:37 PM


Dear Mr. Popofsky,

Thank you for this message.

The answers to your two questions is for both, yes.

Furthermore, in addition to being compliant, I want to work with you to provide your clients with as
much funds as I can reasonably generate. I am starting from scratch and I need your cooperation to
be able to function and for you not to put holds on my accounts which do not let me even pay my
rent and eat or otherwise restrict what I need to do toward this objective.

I live alone, do not have staff or resources to add significantly to the basic effort of earning a living .
You will also appreciate the consequences what you have already added to my burden by the attacks
on my reputation, especially since you and your clients know full well by this time that, at all times, I
have acted honorably, without personal benefit and always trying to assist the parties, including
Benthos, to remedy the problem of their own creation and for which I had no responsibility.

So, yes, I am and will remain compliant. And, yes, I will provide material on the 21st. As well, I would
like to discuss with you during the week of October 12th a plan that I can achieve for generating
funds. Please tell me what day and time I can call you then.

Until, then, please do release any holds you have put on my accounts and do not take any other
such action, so I can pay my rent, purchase food and other necessities and function during this
period. It is particularly painful that it is the Jewish holidays and one wants to not only support
oneself but also give to others in need.

Thank you for your understanding and constructive action which is in the best interest of all
concerned, including your clients, the good people of Benthos.

Best,

Aaron Etra


From: Steven Popofsky <SPopofsky@kkwc.com>
Date: Wednesday, September 16, 2020 at 11:30 AM
To: Aaron Etra <aaron@etra.com>
Cc: "Joshua K. Bromberg" <JBromberg@kkwc.com>
Subject: RE: Benthos
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Mr. Etra, as I wrote to you 13 days ago, “if you timely provide substantial responsive
documents and information [on the due date of September 21,] and need a reasonable
bit of additional time to complete your responses, we would respond reasonably.”
Material such as – by way of example only – bank and brokerage account statements,
credit card statements, real estate ownership and rent records, vehicle use and
ownership, available cash and current living expenses, and recent tax returns are all
readily available to you and could easily be assembled and provided.

The subpoenas were served on August 27, and the Jewish holidays are no impediment at
all to your gathering and providing that sort of basic material in compliance with the
subpoenas. It is unseemly of you to use the holidays as an excuse. Furthermore the
arbitration award was rendered in April, and was confirmed by the Court on August 12
and the judgment was issued on August 13 – you are a lawyer and were at all times well
aware of what would be required of you. Have you begun gathering responsive material
at all? (Please be sure to respond to that inquiry in any return e-mail.)

In addition, are you in compliance with the restraining notice served upon you on August
27? (Please respond to that inquiry as well.) If you can (truthfully) confirm that you are,
and if you produce basic responsive material on the 21st, we can discuss the schedule
beyond that and ensure that you are not unduly burdened. Please understand that you
stalled my client for a long time – including refusing to return $400,000 of Benthos’s
money you were holding as an Escrow Agent, until threatened with imprisonment by the
late Judge Batts – and you lied to Benthos repeatedly and refused to provide simple
information as to the whereabouts of millions of dollars Benthos had entrusted to you.
We and our client are justly suspicious as to whether you truly intend to comply with
your legal obligations pursuant to the judgment-enforcement subpoenas.

If you do show good-faith compliance, we will work with you on scheduling. If you are
just intent on stalling until you are again forced to comply by a federal judge threatening
to hold you in contempt of court, we are not willing to be victimized by that
gamesmanship.

Please respond specifically to the two inquiries set forth above. Thank you.

 STEVEN R. POpOFsKY
 D 212.880.9882   |   spopofsky@kkwc.com
 F 212.986.8866   |




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From: Aaron Etra [mailto:aaron@etra.com]
Sent: Tuesday, September 15, 2020 4:33 PM
To: Steven Popofsky
Cc: Joshua K. Bromberg
Subject: Benthos

Mr. Popofsky,

I am in preparation for the Jewish holidays and have limited capacity during this period, especially
under my health circumstances.

I respectfully request rescheduling all required action on my part for dates as late as possible
beginning with the week of October 12th, which will be my first post-holidays.

Thank you,

Aaron Etra




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